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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
v.                                            :
                                              :       Case No: 21-CR-292 RCL
                                              :
CHRISTOPHER WORRELL,                          :
                                              :
                       Defendant.             :

     NOTICE OF UPDATE REGARDING REFERRAL TO CIVIL RIGHTS DIVISION

       Following its October 13, 2021 hearing in this case, this Court held the Warden of the

D.C. Jail and Director of the D.C. Department of Corrections in civil contempt of court for

failure promptly to produce medical records as directed. The Court further directed the Clerk of

the Court to transmit the civil contempt order to the Attorney General “for appropriate inquiry

into potential civil rights violations of January 6 defendants, as exemplified in this case.” Dkt.

106.

       The government files this notice to advise the Court that the Attorney General received

the Clerk’s transmittal and has referred this matter to the Civil Rights Division for any further

action that may be warranted. The Civil Rights Division has received this referral and will

carefully review the information provided, including the records in this case and other matters,

other information that may be in the possession of the U.S. Marshals Service, and publicly

available information, along with other information we may receive, to determine whether

further inquiry is warranted under any applicable federal civil rights laws.

       The U.S. Attorney’s Office for the District of Columbia has provided the medical records

of Mr. Worrell that it has received in this case to the Civil Rights Division.




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                        Respectfully submitted,

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